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 6                        IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
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 9   United States of America,                       No. CR-18-01537-001-TUC-RM (BPV)
10                 Plaintiff,                        ORDER
11   v.
12   Rafael F. Gallego,
13                 Defendant.
14
15           On August 10, 2018, this Court held a hearing on Defendant Rafael Gallego’s
16   Emergency Motion for Temporary Restraining Order (Doc. 21). On the basis of the
17   parties’ arguments made at that hearing and the findings and rulings made by the Court:
18           IT IS ORDERED that Defendant’s Emergency Motion for Temporary
19   Restraining Order (Doc. 21) is partially granted and partially taken under advisement
20   as follows:
21        1. Defendant’s Emergency Motion for Appointment of Special Master is taken
22           under advisement.
23        2. Until further Order of the Court, the Government is enjoined from inspecting
24           and/or reviewing the items seized from the Gallego Law Firm during execution of
25           the search warrant on August 8, 2018.
26        3. Notwithstanding the above, the Government is permitted to mirror the hard drives
27           of the computer towers seized from the Gallego Law Firm so that the computer
28           towers can be returned to the law firm. Until further Order of the Court, the
 1          Government shall not inspect or review the data on the original or mirrored hard
 2          drives. The employees completing the mirroring shall not be involved in the
 3          prosecution of the above-entitled matter.
 4      4. The Government is granted a two-day extension of the requirement contained in
 5          the search warrant regarding return of at least one computer tower.             The
 6          Government shall return at least one computer tower to the Gallego Law Firm on
 7          or before Wednesday, August 15, 2018. The Government shall promptly return
 8          all other computer towers to the Gallego Law Firm after the Government has
 9          finished mirroring the hard drives of those computer towers. The Federal Bureau
10          of Investigation shall retain custody of the mirrored hard drives but shall not
11          inspect or review the data on such mirrored drives until further Order of the Court.
12      5. Other than the computer-tower hard drives discussed above, the Government shall
13          not mirror any other electronic media seized from the Gallego Law Firm,
14          including the hard drives of laptop computers and USB drives.
15      6. The Government shall not scan or photocopy any hard-copy documents seized
16          from the Gallego Law Firm.
17      7. The Government shall file a Response to Defendant’s Emergency Motion for
18          Temporary Restraining Order on or before Thursday, August 16, 2018.
19      8. On or before Thursday, August 16, 2018, the parties shall provide the Court with
20          the names of three mutually acceptable individuals who could be appointed as a
21          special master to review the documents and electronic media seized from the
22          Gallego Law Firm for privilege and responsiveness to the search warrant.
23          IT IS FURTHER ORDERED that the Government’s Motion to Seal (Doc. 16) is
24   denied without prejudice. On or before Tuesday, August 14, 2018, the Government
25   shall either re-file the Motion to Seal with additional information or file a redacted
26   version of the Motion to Transfer.
27   ....
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 1         IT IS FURTHER ORDERED that Defendant’s Motion to Unseal Search
 2   Warrant Affidavit, Inventory, Return, and Any Attachments (Doc. 24) is denied.
 3   However, as discussed at the August 10, 2018 hearing, the Government shall provide
 4   defense counsel with a copy of the documents referenced in the Motion.
 5         Dated this 10th day of August, 2018.
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